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ntchrg (rev. 02/21)
                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS


In Re:                                                   §
Lauren Engineers & Constructors, Inc.                    §
                                                         §     Case No.: 21−10051−rlj7
                                        Debtor(s)        §     Chapter No.: 7
Markel Insurance Company                                 §
                                        Plaintiff(s)     §     Adversary No.:      21−01001−rlj
      vs.                                                §
Origin Bancorp, Inc.                                     §
                                        Defendant(s)     §


                                NOTICE SETTING Status Conference
    A status conference has been set in the U.S. Bankruptcy Court for July 7, 2021 at 01:30 PM before the
Honorable Robert L. Jones at U.S. Courthouse, 341 Pine St., Room 2201, Abilene, TX 79604 via WebEx to consider

Determination of removed claim or cause



DATED: May 28, 2021                            FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court

                                               by: /s/C. Graham, Deputy Clerk
